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              EXHIBIT 1
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 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                                SCHEDULE A

                                                DEFINITIONS

          1.           The definitions set forth in Federal Rule of Civil Procedure 34 are hereby

incorporated by reference.

          2.           “AAC” or “Actual Acquisition Cost” means the net price (after discounts, rebates,

and other price reductions) that an individual healthcare provider or pharmacist pays to purchase

a prescription drug intended for resale.

          3.           “AMP” or “Average Manufacturer Price” shall have the meaning set forth in 42

U.S.C. § 1396r-8(k)(1).

          4.           “AWP” or “Average Wholesale Price” means any figures so categorized and

periodically published by a Publisher, including such figures published by First DataBank, Inc.

          5.           “CMS” means the United States Centers for Medicare and Medicaid Services; its

current and former agents, employees, commissioners; and its constituent parts and predecessors,

including the Health Care Finance Administration (“HCFA”), the Department of Health and

Human Services (“HHS”), the Social Rehabilitative Service, and the Department of Health,

Education & Welfare; and any other person who currently or formerly acted or purported to act

on its behalf.

          6.           “CMS Regional Offices” means any of the ten offices of CMS overseeing a

designated region of the United States; their current and former agents, officials, employees, and

attorneys; and any other person who currently or formerly acted or purported to act on their

behalf.

          7.           “Communication” means any form of written or oral communication, both

internal and external, including letters, memoranda, e-mail, telegrams, invoices, telephone




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conversations, face-to-face meetings, and other similar forms of communication or

correspondence.

          8.           “Complaint” means the Amended Complaint Following Severance filed in this

action by Ven-A-Care of the Florida Keys, Inc. on May 21, 2008.

          9.           “Concerning,” “referring to,” “reflecting,” “regarding,” or “relating to” means, in

whole or in part and directly or indirectly, about, analyzing, comprising, commenting on,

concerning, connected to, constituting, containing, dealing with, describing, discussing,

embodying, evaluating, evidencing, identifying, illustrating, in respect thereof, mentioning,

noting, rebutting, recording, referring to, reflecting, refuting, regarding, relating to, responding

to, setting forth, showing, stating, studying, summarizing, supporting, or in any way pertaining

to, either explicitly or implicitly.

          10.          “Defendants” refers collectively to the following defendants named in the

Complaint: Actavis MidAtlantic LLC, Alpharma USPD Inc. f/k/a Barre National Inc., and Barre

Parent Corp. (collectively “Actavis MidAtlantic”); Par Pharmaceutical, Inc. and Par

Pharmaceutical Companies, Inc. (collectively “Par”); Sandoz Inc. f/k/a Geneva Pharmaceuticals

Inc. (“Sandoz”); and Watson Pharmaceuticals, Inc. and Schein Pharmaceutical, Inc. (n/k/a

Watson Pharma, Inc.) (collectively, “Watson”).

          11.          “Direct Price” means any figures so categorized and periodically published by a

Publisher.

          12.          “Document” means all materials as defined in Federal Rule of Civil Procedure 34,

including handwritten, printed, typed, recorded, photographic, and computer-generated materials

of any kind or nature, however produced or reproduced, whether stored electrically,

electronically, electromechanically, mechanically, magnetically, optically, or through other




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means, and includes any drafts, preliminary and preparatory materials, originals, copies, e-mails,

attachments, exhibits, removable notes, and translations or summaries thereof.

          13.          “EAC” or “Estimated Acquisition Cost” shall have the meaning ascribed to that

term pursuant to 42 C.F.R. § 447.502.

          14.          “FUL” or “Federal Upper Limit” shall have the meaning ascribed to that term

pursuant to 42 C.F.R. § 447.332.

          15.          “Generic Drug” shall mean drugs to which pharmaceutically and therapeutically

equivalent drugs containing the same active ingredient exist.

          16.          “Including” means including without limitation.

          17.          “MAC” or “Maximum Allowable Cost” shall have the meaning set forth in 42

C.F.R. § 447.332.

          18.          “Manufacturer” means a company that manufactures pharmaceutical products,

including the Subject Drugs, and shall have the meaning set forth in 42 U.S.C. § 1396r-8.

          19.          “Medicaid” means the Medicaid Program, as administered by the various states

their programs; and all of their current and former agents, employees, commissioners, and

officials; and any other person who currently or formerly acted or purported to act on its behalf.

          20.          “Medicaid Intermediary” means and refers to any insurance company or other

entity that has contracted with any state Medicaid Program to process claims for reimbursement

of drugs, develop preferred drug lists, provide guidance on changes to reimbursement

methodologies, or provide advice on cost savings; its current and former administrators, staff,

employees, agents, consultants, accountants, and attorneys; and any other person who currently

or formerly acted or purported to act on its behalf.




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          21.          “Multiple Source Drugs” shall mean a drug marketed or sold by two or more

Manufacturers or labelers or a drug marketed or sold by the same manufacturer or labeler under

two or more different proprietary names or both under a proprietary name and without such a

name.

          22.          “NDC” means “National Drug Code,” the code set maintained by the Food and

Drug Administration and adopted by the federal Secretary of Health and Human Services as the

standard for reporting drugs and biologics on standard transactions.

          23.          “Participant” or “Beneficiary” means a Person for whom the Medicaid Program

provides health insurance coverage, including policyholders and dependents, or any other health

care or health benefits via any program.

          24.          “Person” means any natural person or any business, corporation, partnership,

proprietorship, association, organization, governmental entity, group of Persons, or other entity

of whatever nature.

          25.          “Plaintiff,” “Relator,” and “Ven-A-Care” refer to Ven-A-Care of the Florida

Keys, Inc. and all of its predecessors, successors, subsidiaries, affiliated entities, controlled

entities, parent companies, joint ventures, and related companies; present and former directors,

officers, employees, agents, attorneys, and accountants; and any other person who currently or

formerly acted or purported to act on their behalf.

          26.          “Program” means any program under which You purchase pharmaceuticals or

through which You pay reimbursement for pharmaceuticals and includes the State’s Medicaid

Program and any insurance program that provides pharmaceutical benefits to Your employees.




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          27.          “Provider” means any entity or Person that provides health care to any Participant

or Beneficiary to whom You provide health insurance coverage or benefits, or any entity or

Person to whom You provide reimbursement for drugs.

          28.          “Publisher” means any pharmaceutical data publishing service, including the

Medical Economics Company’s Drug Topics Red Book (“Red Book”), American Druggist First

DataBank Annual Directory of Pharmaceuticals (“First DataBank”), Essential Directory of

Pharmaceuticals (“Blue Book”), and Medi-Span’s Master Drug Database (“Medi-Span”).

          29.          “Regarding,” “relating to,” or “referring to” means, in whole or in part,

constituting, containing, comprising, concerning, referring to, embodying, connected to, relating

to, reflecting, describing, analyzing, showing, evidencing, discussing, identifying, illustrating,

stating, regarding, supporting, refuting, rebutting, responding to, commenting on, evaluating,

about, in respect thereof, mentioning, dealing with, or in any way pertaining to, either explicitly

or implicitly.

          30.          “Reimbursement Methodology” means the formula used to calculate the amount

of payment designated by the State’s Medicaid Program to reimburse Providers for administering

or dispensing pharmaceutical products to Beneficiaries.

          31.          “State” means Florida, its legislative and executive branches and all their agencies

(including any agencies that purchase or pay for prescription drugs), boards, commissions,

departments, divisions, fiscal agents, instrumentalities, intermediaries, and any other

administrative bodies; its current and former agents, employees, officers, officials, attorneys,

accountants, administrators, and other Persons or entities involved in administering, overseeing,

or monitoring any State Program; and any other person who currently or formerly acted or

purported to act on its behalf.




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          32.          “State Maximum Allowable Cost” or “SMAC” shall have the meaning ascribed to

that term pursuant to 42 C.F.R. § 50.504 or any analogous state statute or regulation.

          33.          “State’s Medicaid Program” means the State agency responsible for carrying out

the Medicaid Program in the State; all its branches, agencies, committees, or departments; all its

current and former administrators, staff, employees, agents, consultants, accountants, or

attorneys; and any other person who currently or formerly acted or purported to act on its behalf.

          34.          “Subject Drugs” means the drugs Plaintiff alleges are at issue and attributes to

each Defendant in this case as set forth in Exhibit 1-A to the Complaint, and which are set forth

in Exhibit A attached hereto.

          35.          “URA” means the Unit Rebate Amount computed and sent to the various states

by CMS.

          36.          “Usual and Customary” or “U&C” means the amount charged by a provider for

dispensing a pharmaceutical product to a cash paying customer or as defined by the State.

          37.          “WAC” or “Wholesale Acquisition Cost” means a Manufacturer’s list price for a

drug to wholesalers or direct purchasers in the United States (not including prompt pay or other

discounts, rebates, or price reductions) or any price periodically published as WAC by a

Publisher, including First DataBank, Inc.

          38.          “You” and “Your” refer to the State.

                                               INSTRUCTIONS

          1.           If it is claimed that a Request calls for documents that are privileged, work

product, or otherwise protected from disclosure and such privilege or work product is asserted,

identify the nature of the privilege that is claimed, and provide the following information: (a) the

type of document (e.g., letter, memorandum); (b) the general subject matter of the document; (c)




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the date of the document; and (d) such other information as is sufficient to identify the document

for a subpoena duces tecum, including, where appropriate, the author, addressee, and any other

recipient of the document, and, where not apparent, the relationship of the author, addressee, and

any other recipient to each other. Any part of a document to which the State does not claim

privilege or work product should be produced. For each document withheld under a claim of

attorney work product, also state whether the document was prepared in anticipation of litigation

or trial and, if so, identify the anticipated litigation or trial upon which the assertion is based.

          2.           Do not withhold the production of documents on grounds that they contain

confidential, sensitive, or proprietary information. Any such documents should be produced and

appropriately labeled in accordance with the protective order entered in this case, a copy of

which is attached hereto as Exhibit B.

          3.           If a document responsive to a Request was, but is no longer in the State’s

possession, or subject to its control or in existence, identify the document and state whether: (a)

it is missing or lost, (b) it has been destroyed, (c) it has been transferred to others (identifying

those persons to whom the documents have been transferred), or (d) it has been disposed of in

some other manner. In each instance, explain the circumstances surrounding each disposition

and identify the person directing or authorizing its destruction or transfer and the dates of such

direction or authorization.

          4.           These Requests are continuing in character and require You to supplement Your

responses and produce additional responsive documents if You locate or obtain possession,

custody, or control of such documents at any time prior to trial.

          5.           Unless otherwise specified, these Requests call for documents created or in

existence from January 1, 1991 to the present.




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                                          DOCUMENT REQUESTS

          1.           State Plans, State Plan Amendments, and Supporting Documentation. (a) All

state Medicaid plans filed by the State under 42 U.S.C. § 1396(a); (b) all proposed or actual

amendments to those state plans to the extent they relate to section 4.19B of the state plan; and

(c) all supporting documents and communications concerning state plan amendments relating to

section 4.l9B.

          2.           Medicaid Policies Relating to Prescription Drugs. All (a) Provider manuals or

handbooks applicable to prescription drugs dispensed or administered to Medicaid beneficiaries;

(b) letters, bulletins, or transmittals sent to providers of prescription drugs; (c) documents

sufficient to determine the payment rates for prescription drugs dispensed or administered under

the State’s Medicaid Program (i.e., Reimbursement Methodology, EAC, dispensing fees, co-

payments); and (d) other policy documents stating official policies applicable to providers of

prescription drugs.

          3.           Pricing File. All prices applicable to any of the NDCs of the Subject Drugs in

the attached Exhibit A maintained by the State’s Medicaid Program, including AWP, WAC,

FUL, MAC, SMAC, WHN, Baseline Price, AMP, Best Price, URA, FSS price, and MMCAP

price. If MAC lists are maintained separately, please produce all such current and historical lists

effective from January 1, 1991 to the present.

          4.           Examples of Claims Forms. All documents concerning the calculation,

processing, or payment of claims by Providers for the Subject Drugs, including examples of each

type of claim form used by Providers to seek payment for prescription drugs dispensed or

administered to Medicaid beneficiaries. For the period when claims were submitted




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electronically, please provide screen shots of the electronic claim forms. Please provide

instructions for all responsive claim forms.

          5.           Establishment of Payment Rates. All memoranda, studies, analyses, reports,

communications, policy statements, and other documents concerning proposed and accepted

changes to payment rates for prescription drugs dispensed or administered under the State’s

Medicaid Program (i.e., proposed and accepted changes to reimbursement methodology, EAC,

dispensing fees, co-payments), including (a) all documents concerning Your decision to rely or

not rely upon AAC in setting reimbursement rates for multiple source drugs, and (b) all

documents concerning Your decision to incorporate or exclude the use of AWP or WAC as a

benchmark price factored into prescription drug reimbursement under State’s Medicaid Program.

          6.           Cost Studies. From January 1, 1984 to the present, all studies, audits, or surveys

concerning (a) Providers’ costs to acquire and/or dispense prescription drugs; (b) wholesalers’

costs to acquire prescription drugs; and (c) the prices at which drug manufacturers’ sell

prescription drugs. This Request includes any reports prepared by the State, the U.S. Department

of Health and Human Services, Office of Inspector General, Myers & Stauffer LC, Abt

Associates Inc., Grant Thornton LLP, any pharmacy association, Stephen W. Schondelmeyer,

and the U.S. Government Accountability Office. (For example, the U.S. Department of Health

and Human Services, Office of Inspector General, published a report in 1984 titled “Changes to

the Medicaid Prescription Drug Program Could Save Millions,” which compares AWP to Actual

Acquisition Cost and is responsive to this Request.)

          7.           Understanding of Key Terms At Issue in Lawsuit. From January 1, 1984 to the

present, all documents concerning the meaning or definition of AAC, AWP, WAC, EAC, AMP,

list price, Direct Price, and Usual and Customary charge including:




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                       (a)   All documents reflecting, informing, or providing a basis for Your

          knowledge that AWP does not represent an actual average of wholesale prices that is

          inclusive of all discounts, allowances, and rebates paid by Providers.

                       (b)   All documents reflecting, informing, or providing a basis for Your

          knowledge that WAC does not represent a price net of all discounts, chargebacks, and

          rebates.

          8.           Price Comparisons. All documents reflecting any comparison done by You or

others between the prices applicable to any Subject Drug, including comparisons of any two of

the following: AAC, AWP, WAC, EAC, AMP, URA, FUL, MAC, SMAC, FSS price, MMCAP

price, contract price, invoice price, wholesaler price, Provider’s purchase price, other states’

reimbursement amounts, acquisition prices of any state entity that is a direct purchaser of drugs,

and Usual and Customary charge.

          9.           DOJ AWPs. All documents concerning the revised AWP prices provided to You

by the United States Department of Justice and NAMFCU, including documents concerning

Your decision to use or not use the revised AWP prices in reimbursing for pharmaceutical

products.

          10.          Communications with Governmental Groups. All communications between

State and any member of the state legislature, the U.S. Government, any other State’s Medicaid

Program, any Medicaid Intermediary, any state entity that is a direct purchaser of drugs, any

Medicare contractor, NAMFCU, any MFCU, the National Association of State Medicaid

Directors, Pharmacy Technical Advisory Group, American Association of Medicaid Pharmacy

Administrators, or the National Governors’ Association concerning: (a) payment rates for




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prescription drugs dispensed or administered under the State’s Medicaid Program; (b) the

acquisition or dispensing costs of Providers for prescription drugs; or (c) AWP, WAC, or AMP.

          11.          Communications with Non-Governmental Groups. All communications

between the State’s Medicaid Program and any Manufacturer, pharmacy and other Provider,

professional or trade group, patients’ rights group, law firm, any Publisher, Ven-A-Care, any

benefit consultant, pharmacy benefit manager (PBM), healthcare management organization, or

any other non-government organization concerning: (a) proposed or accepted payment rate

changes for prescription drugs dispensed or administered under the State’s Medicaid Program;

(b) the acquisition or dispensing costs of Providers for prescription drugs; (c) prices for any

Subject Drug; or (d) AWP, WAC, or AMP. This request includes all documents received as

public comments relating to any proposed or contemplated changes in the reimbursement of

prescription drugs or to the dispensing fee set by the State’s Medicaid Program.

          12.          Drug Pricing Proceedings. All documents concerning any legal proceedings

concerning AWP, WAC, or reimbursement rates for prescription drugs, including: (a) copies of

all testimony by present and former employees of the State’s Medicaid Program; (b) documents

produced by the State in those proceedings; and (c) any other sworn statements (including

interrogatory responses).

          AMPs and Rebates.

          13.          Any rebate agreement entered into by any of the Defendants and the State (or the

federal government on behalf of the State) concerning the payment of rebates to the State’s

Medicaid Program.

          14.          Documents sufficient to show the amounts in rebates received each year (a) from

each Defendant, (b) for the Subject Drugs, and (c) in the aggregate, and any analysis that takes




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into account these rebates in determining the costs to dispense or administer prescription drugs

under State’s Medicaid Program.

          15.          All documents concerning the AMP information provided by each Defendant to

the State.

          16.          All documents or data containing or reflecting a URA for any Subject Drug.

          17.          All documents or data containing or reflecting an analysis of a URA for any drug

in an effort to calculate an AMP.

          18.          All documents concerning the difference between the AMP and Providers’

acquisition costs of any pharmaceutical product, including reports, studies, presentations,

publications, legislative materials, or other documents issued by or on behalf of You or any other

federal or state government entity or agency, correspondence sent or addressed to Your

employees or agents, newspaper and magazine articles, television or radio broadcasts, and

transcripts of congressional testimony.

          19.          All documents comparing Providers’ costs of dispensing pharmaceuticals to the

dispensing fees set by the State’s Medicaid Program or used by any other reimburser of

prescription drugs.

          20.          All documents concerning whether use of a reimbursement formula based on

EAC can or does serve as a means of subsidizing or offsetting perceived or asserted under-

reimbursement for the cost of drug dispensing or other medical services, procedures, or

equipment.

          21.          All documents constituting or concerning any requests, surveys, or other efforts

conducted by You, or on Your behalf, to determine that the State is in compliance with 42 U.S.C.

§ 1396a(a)(30).




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          22.          All documents concerning State’s assurances, as required by 42 C.F.R. § 447.333,

to HCFA/CMS that State’s expenditures for drugs listed in accordance with 42 C.F.R. §

447.331(b) are in accordance with payment limits specified in 42 C.F.R. § 447.331(b), including

the assurances provided to HCFA/CMS, all documents supporting such assurances and

documents sufficient to identify the individuals involved in the preparation or provision of such

assurances.

          23.          All documents concerning State’s assurances, as required by 42 C.F.R. § 447.333,

to HCFA/CMS that State’s expenditures for multiple source drugs listed in accordance with 42

C.F.R. § 447.332(a) are in accordance with upper limits specified in 42 C.F.R. § 447.332(b),

including the assurances provided to HCFA/CMS, all documents supporting such assurances,

and documents sufficient to identify the individuals involved in the preparation or provision of

such assurances.

          24.          Documents sufficient to show the dollar amount and percentage of Federal

Medicaid matching funds received by You for each year 1991 to the present.

          25.          All documents concerning (a) the Notice of Proposed Rule Making, Medicare and

Medicaid Programs, Limits on Payments for Drugs, 51 Fed. Reg. 29560, dated August 19, 1986;

(b) the Notice of Proposed Rule Making, Medicare and Medicaid Programs, Limits on Payments

for Drugs, Extension of Comment Period, Availability of Data, and Clarification, 51 Fed. Reg.

33086, dated September 18, 1986; and (c) the Final Rule, Medicare and Medicaid Programs,

Limits on Payments for Drugs, 52 Fed. Reg. 28648, dated July 31, 1987; including any

discussion, hearing, conference, meeting, or any other communication between You and

Congress or the federal government, any of its agencies, departments, offices or employees

regarding these notices and this final rule.




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          26.          Document Retention. Documents sufficient to describe your document retention

or destruction policies applicable to the documents sought by this subpoena, including any

changes to, or departures from, such policies.

          27.          E-mails. All non-privileged e-mails from January 1, 1991 to the present captured

by the search terms attached hereto as Exhibit C.

          28.          Decision to Bring Action: All non-privileged documents showing

communications with any law firm, Ven-A-Care, state attorneys general, or internal

communications concerning a State’s decision or contemplation of whether to bring a lawsuit

against Manufacturers relating to the Manufacturers’ published AWPs or WACs.

          29.          Claims Data. From January 1, 1992 to the present, all data concerning Provider

claims for reimbursement for the Subject Drugs dispensed or administered under State’s

Medicaid Program, including the following fields of data to the extent they are maintained by the

State (or its agents) in the ordinary course of business:

                       (a)    Identifier: claim number, sequence number representing each line item of

          the claim, and other identifying information;

                       (b)    Provider Type: pharmacy, outpatient hospital, physician crossover, etc.;

                       (c)    Claim Type: any available claim type information including any

          information that indicates whether Medicaid is the secondary payor, including Medicare

          Crossover Claims;

                       (d)    Transaction Type: all available transaction type information, such as

          correction, cancellation, etc., identifiers, and source transaction information, and

          reference TCN numbers (e.g., if one claim corrects another claim, information about

          which claim is being corrected);




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                       (e)     Status: all status information, including the payment code indicating

          whether the claim has been accepted, processed, and/or paid and the type of program the

          claim will be processed under (e.g., Medicaid, Managed Care);

                       (f)     Dates: all available dates, including the date the service was provided, the

          billed date, the date the claim was received, the adjudication date, and the date the claim

          was paid;

                       (g)     Basis of Payment: coding within the claim payment transaction which

          identifies the reference point from which the claim payment amount is determined (e.g.,

          MAC, SMAC, FUL, EAC, AMP, AWP, DOJ, Medicaid AWP, WAC, DP, usual and

          customary charge, etc.);

                       (h)     Provider: all information for all relevant Providers, including

          identification number, name, address, contact information, and area field of practice

          (where relevant);

                       (i)     Product: all product information, including:

                               (i)     NDC whenever available. Provide all 11 digits (do not drop

                       leading or trailing 0’s) and ideally in three separate fields - labeler (first five

                       digits), product (next four digits) and package size (final two digits);

                               (ii)    Name;

                               (iii)   Type (e.g., single source, multi-source); and

                               (iv)    Therapeutic class.

                       (j)     Units: all units information, including submitted units, allowed units, and

          unit of measure (e.g., capsule vs. bottle, milliliter);

                       (k)     Prices/Fees: all fields containing price and fee amounts, including:




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                              (i)     Billed charges;

                              (ii)    Dispensing fee;

                              (iii)   Allowed amount;

                              (iv)    Any amounts used to reduce amount paid (e.g., payments received

                       from other payors and the number, name and other information associated with

                       such payors, co-insurance, co-payment, deductible);

                              (v)     Amount paid; and

                              (vi)    Amount billed.

                       (l)    Comments: all other memo or free-form fields (e.g., Item 19 of

          HCFA-1500).

                       (m)    Cost: the cost of shipping, pharmacy staff, supplies, storage, or inventory

          control for any Subject Drug.

                       (n)    Participant or Beneficiary: all information for relevant Participant or

          Beneficiary, including the identification number and date of birth.

                       (o)    Acquisition Cost: any acquisition cost information submitted by the

          Provider.

                       (p)    This request includes related file layouts, field definitions, data

          dictionaries, source tables, relationship tables, and business rules. This data is requested

          in electronic form used by SQL Server, Microsoft Access, Microsoft Excel, or a

          delimited file that can be readily uploaded into one of those programs.

                       (q)    You may exclude any fields identifying the patient’s name or address or

          mark it “CONFIDENTIAL HEALTH INFORMATION-SUBJECT TO PROTECTIVE

          ORDER,” pursuant to the protective order attached hereto as Exhibit B.




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          30.          Documents sufficient to show the actual net price paid by You for the purchase of

any of the Subject Drugs, including contracts for the purchase of any of the Subject Drugs.

Purchase in this context means actual acquisition as opposed to reimbursement.

          31.          All documents reflecting, containing or concerning Your direct or indirect

purchase of any of the Subject Drugs, such that it is sufficient to show which of, and at what

prices, Your branches, agencies, instrumentalities or affiliates directly or indirectly purchased

any of the Subject Drugs, including all documents concerning Federal Supply Schedule or

Veterans’ Affairs pricing for any of the Subject Drugs.

          32.          All documents reflecting or concerning communications between you and

Defendants relating to drug purchasing, pricing, reporting, utilization, rebates, and/or

reimbursement.

          33.          All documents concerning any inquiries or requests You made, or considered

making, for information concerning the prices, costs, or reimbursement of the Subject Drugs,

including complaints, contracts, agreements, or other communications.

          34.          All documents concerning Your analysis, evaluation, review of, or reliance on any

representation of drug pricing provided by Defendants in connection with the reimbursement of

their pharmaceutical products.

          35.          All documents concerning or reflecting any complaint or inquiry You have ever

received from anyone at anytime in whatever form or medium regarding the pricing of

Defendants’ pharmaceutical products.

          36.          All documents concerning negotiations by or on behalf of You with any

Manufacturer concerning pricing or reimbursement of pharmaceutical products.

          37.          Documents relating to the State’s SMAC program, including:




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                       (a)    Documents sufficient to show the period during which each State SMAC

          list was in effect;

                       (b)    Documents reflecting the reimbursement rate applicable to each drug on

          State’s SMAC list;

                       (c)    Documents concerning Your decision to add or delete drugs from State’s

          SMAC List;

                       (d)    Documents concerning the implementation, use of, change of, or deletion

          of a SMAC price;

                       (e)    Documents concerning how each SMAC was calculated, including the

          prices used in calculating each SMAC.

          38.          All documents reflecting communications between and among any of Your

employees or agents concerning the pricing or reimbursement of prescription drugs.

          39.          For each quarter from 1991 to the present, documents sufficient to show how You

or Medicaid Intermediaries calculated any SMAC and FUL for the Subject Drugs.

          40.          Documents sufficient to identify (a) all Medicaid Intermediaries and any other

vendor used by State’s Medicaid Program in connection with the payment of drugs; (b) the time

period and geographical areas for which they served, including name, address, and contact

information; (c) the corporate structure of any Medicaid Intermediary during the period that it

acted as a Medicaid Intermediary; and (d) the names, titles, and/or job descriptions of employees

of any Medicaid Intermediary during the period that it acted as a Medicaid Intermediary.

          41.          All communications with any actual or prospective Medicaid Intermediary, and

between Medicaid Intermediary and any other Person, concerning AAC, AWP, AMP, WAC,




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SMAC, FUL, Direct Price, or list price, or the methodology to be used in calculating

reimbursement for drugs under Medicaid.

          42.          For each year and for each time within each year that a calculation was made, all

documents concerning how Your Medicaid Intermediary determined payment amounts for the

Subject Drugs.

          43.          All documents concerning efforts You considered taking, have taken, or intend to

take to limit, reduce, or control costs associated with the reimbursement of prescription drugs

covered under a State’s Medicaid Program, including:

                       (a)    Agendas, minutes, or notes of meetings at which costs of a State’s

          Medicaid Program were discussed;

                       (b)    Articles, reports, notes, presentations, studies, analyses, audits, or other

          documents concerning reimbursement for prescription drugs, dispensing fees, or other

          fees for professional services associated with dispensing or administering prescription

          drugs;

                       (c)    Studies, data, reports, analyses, audits, or other documents prepared by or

          at Your request concerning reimbursement for prescription drugs, dispensing fees, or

          other fees for professional services associated with dispensing or administering

          prescription drugs;

                       (d)    Testimony from any legal, administrative, or legislative proceeding at

          which costs of State’s Medicaid Program were discussed;

                       (e)    All documents concerning Your efforts to encourage the use of Generic

          Drugs or to reduce the cost of Generic Drugs;

                       (f)    Changes in reimbursement methodology; and




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                       (g)    Group purchasing efforts.

          44.          All documents concerning monetary sums that the State has recovered from any

Providers as compensation, restitution, damages or penalties associated with its reimbursement

for any of the Subject Drugs.

          45.          All documents from 1984 to the present concerning or referring to meetings of

CMS Region Four State Medicaid pharmacy consultants to discuss Medicaid drug

reimbursement that You were invited to or attended.

          46.          All documents from 1984 to the present concerning or referring to any reviews,

studies or surveys of State practices relating to drug pricing and Medicaid reimbursement

conducted by CMS that You were involved in.




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                                    EXHIBIT A

                                 SUBJECT DRUGS




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                                    EXHIBIT B

                               PROTECTIVE ORDER




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                                             EXHIBIT C

                                         SEARCH TERMS

•     Actavis
•     Alpharma
•     Barre
•     Par
•     Sandoz
•     Geneva
•     Schein
•     Watson
•     Zenith
•     “Ven-a-Care”
•     Venacare
•     “Department of Justice”
•     DOJ
•     340B
•     1396r-8!
•     AAC
•     “Abt Associates”
•     access w/20 (care or adequate or drug! or pharm! or federal or “state plan” or statute or law
      or regulation or rule or CMS or Medicaid or HCFA)
•     “actual acquisition cost”
•     “ain’t what’s paid”
•     amerisource
•     AMP!
•     “average manufacturer price”
•     ASP!
•     “average sales price”
•     AWP!
•     “average wholesale price”
•     benchmark
•     Bergen
•     Cardinal
•     chargeback
•     cost w/5 (net or real or false or true or dispens!” or ingredient or drug or actual or average or
      acquisition or pharrn! or suggest! or invoice or discount)
•     cross w/5 subsid!
•     discount w/5 (drug! or pharma!)
•     “dispensing fee”
•     DP!
•     “Direct Price”
•      EAC!
•     “estimated acquisition cost”
•     “false claim”
•     “FUL”



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•     “federal upper limit”
•     fraud and (drug! or pharm!)
•     FSS
•     “federal supply schedule”
•     “grant thornton”
•     “list price”
•     MAC!
•     “maximum allowable cost”
•     rebate
•     SMAC!
•     margin
•     markup
•     mark-up
•     McKesson
•     “Minnesota Multi-State”
•     MMCAP
•     “Myers & Stauffer”
•     NAMFCU
•     OIG
•     “Office of Inspector General”
•     price w/5 (net or real or false or true or drug or actual or average or acquisition or pharm! or
      suggest! or invoice or market or discount)
•     profit
•     Schondlemeyer
•     spread
•     “sticker price”
•     URA!
•     “unit rebate amount”
•     “U&C”
•     “usual and customary”
•     WAC!
•     “wholesale acquisition cost”
•     wholesale w/5 (price or cost or acquisition or average or net or amount)




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